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                        UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF FLORIDA
                                    Tampa Division


   VALERIE FLYNN                             )
                                             )
          Plaintiffs,                        )
                                             )
   v.                                        )            Case 8:22-cv-00343-MSS-SPF
                                             )
                                             )
   CABLE NEWS NETWORK, INC.                  )
                                             )
          Defendant.                         )
                                             )
                                             )
   LORI FLYNN                                )
                                             )
          Plaintiffs,                        )
                                             )
   v.                                        )            Case 8:22-cv-00343-MSS-SPF
                                             )
                                             )
   CABLE NEWS NETWORK, INC.                  )
                                             )
          Defendant.                         )
                                             )


                          RESPONSE AND OPPOSITION
          Plaintiffs, Valerie Flynn and Lori Flynn (“Plaintiffs”), by counsel, file the

   following Memorandum in response and opposition to the motion to amend case

   management order [ECF No. 52] filed by Defendant, Cable News Network, Inc.

   (“CNN”).

          1.      On June 10, 2022, the Court entered its Case Management and Scheduling

   Order (“CMO”) in this matter.




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            2.    On June 28, 2022, the Court entered an Order [ECF No. 45] that granted

   the parties’ joint motion to consolidate Valerie Flynn v. CNN and Lori Flynn v. CNN for

   purposes of discovery.

            3.    In May 2022, the parties first exchanged written discovery in this action.

   Since May 2022, the parties have exchanged substantial additional written discovery. 1

            4.    Pursuant to the CMO, the deadline to disclose experts in this case is:

                  Defendant:     MARCH 3, 2023
                  Rebuttal:      APRIL 3, 2023

            5.    By Order entered August 12, 2022, the District Court in the SDNY Matter

   ruled that the term “QAnon follower” in the context of the CNN report at issue means

   “an adherent to the QAnon belief system—including the belief that a high-ranking

   government insider known as ‘Q’ is exposing a cabal of Satan-worshipping pedophiles

   which controls the government—not merely someone who read or forwarded tweets

   about QAnon.” Flynn v. Cable News Network, Inc., 2022 WL 3334716, at * 3 (S.D.N.Y.

   2022).

            6.    Discovery in this matter and the SDNY Matter has yielded documents and

   information – including emails, text messages, social media direct messages, tweets and

   retweets – that conclusively establish that the Flynns are not QAnon followers. In

   response to discovery in this matter, CNN did not produce a single document that shows

   Valerie Flynn or Lori Flynn is a QAnon follower.


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                   In the related case pending in the Southern District of New York, Flynn v.
   Cable News Network, Inc., Case 1:21-cv-02587-GHW/SLC (the “SDNY Matter”), the
   parties first exchanged written discovery in February 2022. Counsel for the parties have
   agreed that discovery, including documents, produced in the SDNY Matter may be used
   in this action. CNN did not identify any experts prior to the deadline for completion
   of expert discovery in the SDNY Matter.


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          7.     There is no good cause to amend the CMO. The parties have engaged in

   exhaustive discovery. No additional amount of time and no deposition is going to change

   the fact that CNN’s statements in the February 2021 report are materially false. Further,

   CNN waited until 2023 to schedule its “slate” of depositions. To give CNN an additional

   51 days to identify an expert – on a subject matter that is not even identified by CNN in

   its motion and in a case that has been pending since February 2022 – would be unfair and

   highly prejudicial to the Flynns who have diligently pursued discovery.



   DATED:        February 16, 2023



                                Respectfully Submitted,

                                VALERIE FLYNN
                                LORI FLYNN



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                             CERTIFICATE OF SERVICE

         I hereby certify that on February 16, 2023 a copy of the foregoing was filed

   electronically using the Court’s CM/ECF system, which will send notice of electronic

   filing to counsel for the Defendant and all interested parties receiving notices via

   CM/ECF.


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